USDC IN/ND case 2:17-cr-00047-PPS-JEM document 1250 filed 03/30/22 page 1 of 1


                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                               HAMMOND DIVISION


UNITED STATES OF AMERICA                   )
                                           )
              v.                           )       CAUSE NO.: 2:17-CR-47-PPS-JEM
                                           )
ANTONIO WALTON, et al.,                    )
         Defendants.                       )

                                           ORDER

       This matter is before the Court on a Motion to Withdraw Attorney Appearance [DE 1249],

filed by the Government on March 29, 2022. Another attorney has entered an appearance on behalf

of the Government.

       Finding the motion well taken, the Court hereby GRANTS the Motion to Withdraw

Attorney Appearance [DE 1249], and ORDERS that the appearance of Assistant United States

Attorney Thomas Mahoney is hereby WITHDRAWN in this case.

       So ORDERED this 30th day of March, 2022.

                                           /s John E. Martin
                                           MAGISTRATE JUDGE JOHN E. MARTIN
                                           UNITED STATES DISTRICT COURT
cc:    All counsel of record
